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 6   DEPARTMENT, MONICA QUIJANO and RICHARD TAMEZ
 7
 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11    LUIS LORENZO VARGAS,                           CASE NO. CV16-08684 SVW (AFMx)
                                                     Hon. Stephen V. Wilson, Ctrm. 10A
12                                                   Mag. Alexander F. MacKinnon, Ctrm. H, 9th Fl.,
                  Plaintiff,
13
            v.                                       DEFENDANTS’ REQUEST FOR
14                                                   JUDICIAL NOTICE
                                                     ACCOMPANYING MOTION FOR
15    CITY OF LOS ANGELES; LOS                       PARTIAL SUMMARY JUDGMENT
      ANGELES POLICE DEPARTMENT;                     OF MUNICIPAL LIABILITY
16    COUNTY OF LOS ANGELES; OFFICE                  CLAIM; DECLARATION OF
      OF THE LOS ANGELES DISTRICT                    GEOFFREY PLOWDEN; EXHIBITS
17    ATTORNEY; LOS AGELES SHERIFF’S
      DEPARTMENT; MONICA QUIJANO;
18    RICHARD TAMEZ; and DOES 1-10                   Date:       June 10, 2019
      INCLUSIVE,                                     Time:       1:30 p.m.
19                                                   Ctrm:       10A
20                Defendants.
21
           TO THE HONORABLE COURT, PLAINTIFF AND HIS COUNSEL:
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           Pursuant to Federal Rule of Evidence 201(b)(2), Defendants City of Los Angeles
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     and the Los Angeles Police Department (“Defendants”) respectfully submit this Request
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     for Judicial notice in support of their Motion for Partial Summary Judgment. Accordingly,
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     Defendants request this Court take judicial notice of the following statute which is
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     attached to the supporting Declaration of Geoffrey Plowden.
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.  THE COURT MAY TAKE JUDICIAL NOTICE OF ITS COURT FILES

 3 AND RECORDS, AS WELL AS LOCAL STATUTES.
 4         Federal Rule of Evidence Rule 201(b)(2) allows a Court to take judicial notice of
 5 a fact that is not subject to reasonable dispute and is capable of accurate and ready
 6 determination by resort to sources whose accuracy cannot reasonably be questioned. A
 7 court is empowered to take judicial notice of court files and records, i.e. plaintiff’s
 8 operative complaint. Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001).
 9         The court may also take judicial notice of statute. Mesa Grande Band of Mission
10 Indians v. Salazar, 657 F. Supp. 2d 1169 (S.D. Cal. 2009).
11         The court must take judicial notice if a party requests it and the court is supplied
12 with the necessary information.
13         Based on the foregoing, the Court should take judicial notice of the Plaintiff’s
14 Second Amended Complaint and California Penal Code section 1054.1, accompanying
15 the Declaration of Geoffrey Plowden.
16 Dated: May 15, 2019          MICHAEL N. FEUER, City Attorney
                                JAMES P. CLARK, Chief Deputy City Attorney
17                              CORY M. BRENTE, Assistant City Attorney
18
19                              By:         /S/Geoffrey Plowden
                                      GEOFFREY PLOWDEN, Deputy City Attorney
20
                                Attorneys for Defendants, CITY OF LOS ANGELES,
21                              LOS ANGELES POLICE DEPARTMENT,
                                MONICA QUIJANO and RICHARD TAMEZ
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